Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 1 of 9




                 Exhibit B
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 2 of 9



   REWARDZONEUSA, LLC WEBSITES



   TERMS & CONDITIONS



   Last Modified: May 1, 2018



   We (RewardZone USA, LLC) operate RewardZoneUSA.com, NationalConsumerCenter.com and other
   websites (“RZU Websites”) where you can earn incentives – merchandise or gift cards (“Incentives”) - by
   registering and providing information and completing certain promotional offers (“Offers”). By
   accessing and using the RZU Websites, you agree and accept these Terms & Conditions. If you do not
   agree and accept these Terms & Conditions, please do not use or visit any RZU Websites.



   Mandatory Arbitration. These Terms contain a mandatory arbitration provision below that requires you
   to arbitrate individually any disputes or claims you may have with us and our affiliates, advertiser clients
   and marketing partners (collectively, “Marketing Partners”) who are third party beneficiaries of the
   mandatory arbitration provision. Thus, for example, if you provide prior express written consent to be
   contacted via telemarketing or SMS/text messaging, any claims you may have regarding any
   telemarketing or SMS/text messages you receive are subject to the mandatory arbitration provision. The
   mandatory arbitration provision also waives your right to participate in a class action or multi-party
   arbitration. You may opt-out of the mandatory arbitration provision by providing written notice of your
   decision within thirty (30) days of the date that you first register on an RZU Website.



   How the Promotions Work. To earn an Incentive, you must (a) be at least 18 years old and a U.S.
   resident; (b) submit your accurate name, contact (registration) and demographic information including
   your valid residential mailing and email addresses; (c) complete the survey questions; (d) meet the
   applicable Promotion requirements set forth below within a 20 day period beginning with the date of
   your first completed Offer (if you register but don’t complete an Offer, the 20 day period does not start);
   (e) start the Incentive claims process within 10 days of when you complete the required number of
   Offers; (f) complete the Manual Credit Packet verification process (if applicable) within 60 days of
   starting the Incentive Claim process; and (g) provide a properly completed claim form and supporting
   documentation (see below) within 30 days of our sending you the claim form via Adobe EchoSign.



   Incentive                                         Silver Offers     Gold Offers      Platinum Offers

   Tier 1 - Value of $100 or less[1]                 1                 1                2

   Tier 2 - Value greater than $100 [2]              1                 1                8
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 3 of 9




   The Silver, Gold and Platinum Offers appear AFTER the registration forms, surveys and optional offers,
   which do not count towards earning an Incentive. To be credited with the completion of an Offer as
   shown in the table above, you must first access the Offer through this RZU Website or through a valid
   link provided to you by customer support. We use third party services to verify your registration
   information. If your registration information is determined to be invalid, we reserve the right to not
   display the pages with the Promotion Offers. In that case, you will be ineligible to earn an Incentive.



   You must use the same accurate contact information for completing the required Offers as you did
   during the registration process. If you don’t complete all of the requisite Offers during your initial visit
   to this RZU Website, go to Incentive Status and log in and use the provided link that will enable you to
   resume signing up for Offers or contact customer support who will provide you with a re-entry link. You
   should retain any confirmation emails or other documentation received applicable to the completed
   Offers. You cannot sign up for the same Offer more than once to get credit for an Incentive.



   For a subscription or purchase Offer, the advertiser must be able to successfully bill your credit card at
   least once or for the number of times specified in the particular Offer’s terms to receive credit. Some of
   our advertisers will not accept prepaid cards to complete Offers. You will not be credited with
   completing an Offer unless the advertiser confirms your completion, so do not use a prepaid card for
   Offers or cancel an Offer right after you signup. Many advertisers will not give credit to a “quick
   cancel.”. For this reason, there may be a delay from the time you sign up for an Offer and when it
   appears as a completed Offer on your Incentive Status. Additional terms and conditions may apply to
   participate in select marketing Offers. You should read the terms of each Offer provided by the
   advertiser for an explanation of these terms (if applicable) . The Representative Offer Chart provides
   important information on many of the Offers including initial cost, ongoing obligations and how to
   cancel. If you have questions about any Offers, please review the chart or contact the third party
   sponsor/advertiser. customer support is also available to provide assistance at [contact info].



   Incentive Status. You can check on your progress at any time by logging in with your email address
   on Incentive Status. (If you haven’t completed any Offers, you will not be able to log in to Incentive
   Status.) Sometimes Offers aren’t properly accounted for when you check your Incentive Status. You
   should keep email confirmations from completed Offers as we may ask for them during the claims
   process to confirm you’re entitled to claim an Incentive. We also reserve the right to require you to
   provide us with proof of payment for completed Offers. Acceptable proof includes copies of bank or
   credit card statements. When you make copies of your statements, we ask that you cover your account
   number.



   Claiming Your Incentive. Start the claims process by logging onto the “Incentive Status” and selecting
   “Claim My Incentive.” Complete the required information: name, mailing address, email address,
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 4 of 9



   telephone number, and Incentive Promotion. We will review your claim and confirm whether you have
   completed all the required steps to earn an Incentive. If one or more Offers haven’t registered in our
   system, we will send a Manual Credit form via email. Please print out the form and complete it and
   provide an unaltered copy of the confirmation email(s) and proof of payment. You can send a photo of
   the required documentation using your smart phone.



   Once we have verified that you completed the requisite Offers, we will send you a claim form via
   email. Currently we use Adobe EchoSign to send our claim forms. You will need to print out the claim
   form and sign it. For Tier 2 incentives, you will need to print out the claim form and take it to a notary
   public and sign it and have your signature notarized. Most bank branches and UPS stores will have a
   notary on staff. Notaries typically require you to have a government issued photo ID. Mail back the
   signed claim form (or notarized claim form if applicable) to us via Unites States Postal Service. Once we
   have verified that you completed the Offers and received a properly executed claim form along with a
   valid government issued Photo ID (you can cover your identification number from the ID) and proof of
   your current household mailing address (e.g. a utility bill), we will send you your Incentive within two to
   four weeks. We reserve the right to audit claims to ensure that only users who fully comply with these
   Terms & Conditions can claim an Incentive.



   If your Incentive is fulfilled with a gift card, you will receive an email requesting you to choose between
   a virtual gift card, which is delivered free of charge but can only be used for online purchases, or a
   plastic gift card, where you must pay the third-party shipping costs but can be used anywhere VISA is
   accepted. You need to complete the claims verification process within 60 days of when you first start
   the process by clicking on Claim My Incentive and then must file your claim form with your ID and proof
   of address within 30 days of when we send the claim form. We reserve the right to substitute an
   Incentive of equal or greater value if the Incentive you earned is unavailable for any reason. We are not
   responsible and will not replace any lost, stolen or mis-delivered Incentives unless the mis-delivery is
   clearly because of our error.



   We rely on our users providing accurate registration information so we and our Marketing Partners can
   connect with and market to our users. If your registration information (name, postal address, email
   address) does not match the information on your claim form, we reserve the right to disqualify
   you. In some situations, our system may pre-populate inaccurate registration information. If this
   happens, please contact us here and provide us the correct information so we can update the
   system.



   Publicity. We may use your first name, last initial, and City and State of residence (for example John S.
   Wichita, KS) on a RZU Website. We will also ask for a testimonial and/or a picture of you with your
   Incentive. If you submit either, you grant us a royalty-free license to display and use what you submit to
   us in any medium.
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 5 of 9




   Limitations - Household Waiting Period Rule. Incentives are limited to one Incentive of any kind per
   person and household (persons living at the same residential address) per eligibility period. You and
   the members of your household must wait 12 months after completing all of the offers required for a
   Tier 1 Incentive before becoming eligible for another Incentive, and you must wait 24 months after
   completing all of the offers required for a Tier 2 Incentive before becoming eligible for another
   Incentive. A household means a residence – where you live - and cannot be a PO box, where you work,
   or other non-residential address. We may ask you to prove your household address so we can ensure
   compliance with the rule that limits Incentives to one Incentive per household per one year or two years
   depending on the Incentive Tier. You can prove this by supplying a copy of, for example, a utility bill,
   your lease, a mortgage statement, a property tax bill or if you are a student, a printout from you school
   with your dorm room address. If you live with someone and do not own or rent your residence, we may
   require you AND the person you live with to supply affidavits attesting to your household
   address. Please be aware that the person you live with and the other members of your household also
   cannot get an Incentive if you get a Tier 1 or Tier 2 incentive for one or two years, respectively.



   Employees of RZU and its parent, subsidiaries and affiliates and its advertising, publisher, fulfillment,
   agency and marketing partners, and their immediate families (including those living in the same
   households) are not eligible to earn an Incentive. If we determine you are affiliated with RZU, we
   reserve the right to disqualify you.

   You cannot complete Offers using a bot or other automated means of signing up or otherwise tamper
   with our system or attempt to defraud us by using multiple email addresses or other means or
   otherwise “game” the Program to circumvent the limitations described above. You also cannot use a
   link to an RZU Website provided by another person or one obtained outside of our normal marketing
   channels such as a YouTube video or gaming site or reuse a link that you previously used to claim an
   Incentive. We may also disqualify you If you access an RZU Website ‘mid-path’ by skipping the
   registration and/or survey pages. If we reasonably believe you are attempting to do so, we may void all
   of your attempts to earn for an Incentive.



   Telemarketing and Text Messages. Where you provide “prior express written consent” within the
   meaning of the Telephone Consumer Protection Act (“TCPA”), you consent to receive telephone calls,
   including artificial voice calls, pre-recorded messages and/or calls delivered via automated technology,
   and text and SMS messages to the telephone number(s) that you provided from us and the Marketing
   Partners. You are not required to provide this consent to earn an Incentive or purchase any of the other
   goods or services offered on the RZU Websites. Your consent simply allows you to be contacted via
   these means. If you provide consent, we and any of the Marketing Partners may send you SMS
   messages from their short codes or long codes. Our short codes are 53294, 91982, 27367, 68766 and
   411411; we may acquire additional short codes. Message Frequency Varies, maximum 15 messages per
   month. Message and data rates may apply. Text STOP to opt-out from future messages and HELP for
   help or Contact Us. Compatible carriers include: AT&T, Verizon Wireless, Sprint, Boost, Alltel (Verizon
   Wireless), U.S. Cellular, MetroPCS, T-Mobile ® United Wireless, Virgin Mobile, Boost Mobile, Cellcom, C
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 6 of 9



   Spire Wireless CellSouth, Cricket, Cincinnati Bell and Virgin Mobile®. T-Mobile® is not responsible for
   delayed or undelivered messages.



   Any claims you may have under the TCPA against us or any of the Marketing Partners will be subject to
   the Arbitration/Dispute Resolution provision below.



   Privacy, Security and Links. Please review our Privacy Policy for more information concerning our
   collection and use of your information, the security of your information and how to have your
   information deleted from our database. For a timely response to any inquiry regarding your Offer
   submissions, qualification, and Incentive delivery, please submit your question here. The RZU Websites
   may contain links to other sites or services. We are not responsible for the privacy practices, the
   content, or the security of such third- party sites.



   Tax Liability. You are responsible for all local, state, and federal taxes on any Incentive you receive.



   Agreement; Choice of Law/Jurisdiction and Venue. You agree that these Terms & Conditions constitute
   the agreement between us and that New York law controls, without regard to conflicts of law
   provisions. Any dispute that is not resolved by arbitration and proceeds in a state or federal court will
   be adjudicated in a court in the state of New York. You expressly waive any defense or objection to
   venue or personal jurisdiction.



   Arbitration/Dispute Resolution. If you have a dispute concerning any aspect of these Terms &
   Conditions, the RZU Website, your participation in a Promotion, entitlement to an Incentive or a
   telemarketing call or SMS/text message you received from us or a Marketing Partner, you should first
   contact customer support on the RZU Website or complete a customer support ticket. We will attempt
   to resolve the matter to your satisfaction within thirty (30) days of our receipt of a customer support
   ticket. We may choose to provide you with a final written settlement offer during this process. If we
   provide you with a final written settlement offer and you don't accept it, or we can't otherwise
   satisfactorily resolve your dispute, or you chose to skip this step, you must submit your dispute for
   resolution by arbitration before the American Arbitration Association ("AAA") in the county where you
   live by filing a separate Demand for Arbitration online by following the instructions at
   https://apps.adr.org/webfile/. If the claim is against us, you will need our mailing address to file
   online. To obtain our mailing address, contact us by clicking here.



   If we have a dispute, we will submit our dispute for resolution by arbitration before the AAA in New
   York, NY. If either party files for arbitration, it will be conducted in accordance with the then current
   AAA Commercial Arbitration Rules. The arbitrator will have exclusive authority to resolve any dispute
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 7 of 9



   including any claim that all or any part of the Terms & Conditions, including this provision, are
   unenforceable.



   If you proceed to arbitration against us, we will pay all AAA filing, administration and arbitrator fees
   unless the arbitrator determines that your claim is frivolous or brought for an improper purpose (as
   measured by the standards set forth in Federal Rule of Civil Procedure 11(b)). For claims brought by you
   of Ten Thousand Dollars ($10,000.00) or less, you can choose whether the arbitration proceeds in
   person, by telephone or based only on submissions. The arbitrator may award any form of individual or
   equitable relief, including injunctive relief. Any award will be final and conclusive to the parties and may
   be entered in any court of competent jurisdiction. If you initiate arbitration against us and the arbitrator
   awards you relief that is greater than our final written settlement offer made before an arbitrator was
   selected, then we will pay you a minimum recovery of Five Hundred Dollars ($500.00), plus we will
   reimburse any reasonable expenses incurred by your attorney, if any, including fees reasonably accrued
   for investigating, preparing and pursuing the claim in arbitration. Although under some laws we may
   have a right to an award of attorneys' fees and expenses if we prevail in arbitration, we agree that we
   will not seek such an award from you. You and your attorneys are not required to keep the results of
   the arbitration confidential. You agree to the entry of injunctive relief to stop such a lawsuit or to
   remove you as a participant in such a suit.



   Opt-Out of Arbitration/Class Action Waiver. The Terms & Conditions do not constitute a waiver of any
   of your rights and remedies to pursue a claim individually and not as a class action in binding arbitration
   as provided above. This provision preventing you from bringing, joining or participating in class action
   lawsuits is an independent agreement. You may opt-out of these Dispute Resolution Provisions by
   providing written notice of your decision within thirty (30) days of the date that you first register on the
   RZU Website.



   YOU ACKNOWLEDGE AND AGREE THAT, VIA YOUR ACCEPTANCE OF THESE DISPUTE RESOLUTION
   PROVISIONS, YOU WAIVE ANY RIGHT TO A JURY TRIAL, AS WELL AS YOUR RIGHT TO BRING, JOIN OR
   PARTICIPATE AS A PLAINTIFF OR A CLASS MEMBER IN A CLASS ACTION SUIT OR MULTI-PARTY
   ARBITRATION BROUGHT AGAINST US OR MARKETING PARTNERS, OR A SERVICE PROVIDER USED BY
   US TO PROVIDE THE SERVICE.



   Small Claims Court. You may choose to pursue your dispute or claim in small claims court rather than
   by arbitration if your dispute or claim qualifies for small claims court in a location where jurisdiction and
   venue over you and RZU is proper.



   Policy Against Spam. We require that all emails promoting the RZU Websites are sent only to users who
   have agreed to receive such emails. We prohibit any advertising of RZU Websites using “spam”-
   unsolicited emails. If an advertiser or other person advertising or promoting our Sites fails to comply
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 8 of 9



   with our “no spam” policy, we will terminate our agreement with such person. If you feel you’ve been
   sent unsolicited spam emails promoting an RZU Website and would like to register a complaint, please
   let us know here. We will immediately investigate all allegations of spam email and take appropriate
   action.



   Disclaimer of Warranties. The RZU Websites, Promotions, Incentives, and any third-party partners
   products and/or services that you may receive from us, one of our Marketing Partners or other third-
   party partners (collectively “activity and content relating to the RZU Websites”) is subject to change and
   is provided to you "as is" without any warranty of any kind, either expressed or implied, including, but
   not limited to, the implied warranties of merchantability, fitness for a particular purpose, or
   noninfringement. We make no warranty that the activity and content relating to the RZU Websites will
   (i) meet your requirements; (ii) be uninterrupted, timely, secure or error-free; or (iii) be accurate or
   reliable. We assume no responsibility for any damage to your computer system or loss of data that may
   have resulted from material downloaded or otherwise obtained through activity relating to the RZU
   Websites. We assume no responsibility for the deletion of, or failure to store, email messages and any
   other personalization settings in relation to activity and content relating to the RZU Websites. No advice
   or information, whether oral or written, obtained by you from us, shall create any warranty not
   expressly stated in these Terms & Conditions. Please note that some jurisdictions may not allow the
   exclusion of implied warranties, so some of the above exclusions may not apply to you. We do not
   represent that your use of any content will not infringe the rights of any third parties.



   Limitation of Liability. To the maximum extent allowed by applicable law, we will not be liable for any
   indirect, incidental, special or consequential damages arising out of or relating to the Terms &
   Conditions, the RZU Websites, a Promotion or an Incentive, no matter how caused. In no event will our
   total cumulative liability to any user exceed an amount equal to the lesser of (i) the value of the
   Incentive for which the consumer has registered, or (ii) $1,000, or (iii) actual dollar amount consumer
   spent on an RZU Website completing sponsor Offers.



   Liability Release. By accessing one of the RZU Websites or participating in any of our Promotions, you
   release us and our respective parents, subsidiaries, and other affiliated companies, and the directors,
   shareholders, officers, employees, or agencies of any of the above organizations, for any and all liability
   for any injury, death, loss, tax liability or damage of any kind arising from your participation in a
   Promotion, or resulting from acceptance, possession, use or misuse of any sponsor Offer or Incentive.



   Indemnification. You agree to indemnify and hold us, our parents, subsidiaries and affiliates, and each
   of their respective members, officers, directors, employees, agents and/or other partners, harmless
   from and against any and all claims, expenses (including reasonable attorneys' fees, costs and
   settlement costs), damages, suits, costs, demands and/or judgments whatsoever, made by any third
   party due to or arising out of: (i) your use of an RZU Website, any service provided by us, user generated
   content (“UGC”) or Content; (ii) your breach of these Terms & Conditions; (iii) your violation of any
Case 0:19-cv-60752-RAR Document 16-2 Entered on FLSD Docket 06/25/2019 Page 9 of 9



   rights including, but not limited to, intellectual property right; or (iv) any deceptive, threatening,
   libelous, obscene, harassing or offensive material contained in any of your email communications or
   other submissions to an RZU Website.



   Updates. We may revise these Terms & Conditions any time. Your continued use of an RZU Website
   and/or participation in a Promotion evidences your acceptance of any changes. If you do not accept any
   of the Terms & Conditions or this summary, we ask that you not complete our registration process or
   access an RZU Website.



   ________________________________________

   [1] Gift cards with a face value of $100 or less and other merchandise with an average retail value of
   $100 or less.

   [2] Gift cards with a face value of more than $100 and merchandise, such as iPads, iPhones and laptops,
   with an average retail value more than of $100.
